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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 Narvel Lassiter,                                  §
                          Plaintiff,               §
                                                   §     CASE NO. 5:21-cv-1136
                                                   §
 v.                                                §
                                                   §
 Equifax Information Services, LLC;                §
 Citibank, National Association; Barclays          §
 Bank Delaware; and DOES 1 through 100             §
 inclusive,                                        §
                                                   §
                                                   §
                          Defendants.              §

       COMES NOW Plaintiff NARVEL LASSITER (“Plaintiff”), an individual, based on
information and belief, to allege as follows:
                                         INTRODUCTION
       1.       This case arises under the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. §§
1681s-2(b), 1681e(b), 1681i(a)(2)(A), 1681i(a)(4), and 1681i(a)(5)(A). Plaintiff seeks redress for
the unlawful and deceptive practices committed by the Defendants in connection with their
inaccurate, misleading, or incomplete reporting of Plaintiff’s debt.
       2.       Defendant Citibank, National Association (“CitiBank”) is reporting an
unauthorized account on Plaintiff’s Equifax Information Services, LLC (“Equifax”) report which
includes multiple, derogatory notations. This account is detrimental to Plaintiff’s credit score and
his ability to obtain new credit, and Plaintiff is neither an obligor nor authorized user on the
account.
       3.       Defendant Barclays Bank Delaware (“Barclays”) is not reporting the Plaintiff’s
account accurately as satisfied, as it was settled or paid in full for less than full amount.
       4.       The United States Congress has found the banking system is dependent upon fair
and accurate credit reporting. Inaccurate credit reports directly impair the efficiency of the banking
system and unfair credit reporting methods undermine the public confidence that is essential to the
continued functioning of the banking system.




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        5.      Creditors intentionally and routinely ignore both industry standards and FCRA
requirements for accurately reporting debt information. Creditors know that deviating from
recognized credit reporting standards and FCRA requirements will make it difficult for consumers
to raise their credit scores and improve their creditworthiness.
        6.      This was not the intent of Congress when it enacted the Fair Credit Reporting Act.
                                   JURISDICTION & VENUE
        7.      Plaintiff re-alleges and incorporates the allegations in each and every paragraph
above by reference as if fully stated herein.
        8.      This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, 1367, and 15 U.S.C. §
1681.
        9.      This venue is proper pursuant to 28 U.S.C. § 1391(b)(1).
        10.     Plaintiff alleges that, for purposes of establishing residency under 28 U.S.C. §
1391(b)(1), each of the named Defendants conducts sufficient business within the forum state and
this Court has personal jurisdiction over each Defendant under 28 U.S.C. §§ 1391(c)(2) and
1391(d).
                                  GENERAL ALLEGATIONS
        11.     Plaintiff alleges that he was added as an authorized user to the CitiBank account
and is not personally liable for the debt. Plaintiff alleges he revoked his authorized user status on
the account; however, CitiBank is still reporting it on his Equifax report as if he is still an
authorized user.
        12.     Plaintiff alleges the CitiBank tradeline contains derogatory reporting which is
lowering his credit score and his ability to obtain new credit.
        13.     Plaintiff alleges the maker of the account filed Chapter 7 bankruptcy and the
account was included and discharged.
        14.     Plaintiff alleges that the Barclays account was settled, legally paid in full for less
than the full amount, and fully satisfied in or about October of 2019, and thus is not currently past
due. Despite the fact the account was satisfied, Barclays is reporting the account as “At least 120
days or more than four payments past due” which is patently incorrect and misleading.
        15.     Plaintiff alleges that it is patently incorrect and misleading for a debt which was
satisfied to be reported on a credit report with a current payment status of past due as this reporting
makes it appear as if the debt is still owed and collectible.



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          16.      In the alternative, if any amount did remain after the payment and satisfaction,
which Plaintiff alleges there was no such remaining amount, then that amount would have been
included and discharged in Plaintiff’s subsequent Chapter 7 bankruptcy filed on December 29,
2020, and discharged on April 9, 2021.
          17.      Plaintiff alleges that each and every Defendant is familiar with FCRA requirements
and subscribes thereto.
          18.      Plaintiff alleges that each and every Defendant understands that deviation from the
FCRA requirements or credit reporting industry standards can, and often does, result in the denial
of credit, higher interest rates, and prompts a negative inference that would not be drawn if the
data were reported in accordance with the recognized standards.
          19.      Plaintiff alleges that all of Defendants’ actions alleged herein were committed
knowingly, intentionally, and in reckless disregard of the unambiguous meaning of the FCRA,
regulatory guidelines on accurate reporting, and credit reporting industry standards to purposefully
undermine Plaintiff’s ability to repair his FICO Score.
          20.      In the alternative, Plaintiff alleges that each and every Defendants’ actions were the
result of negligent policies, procedures, and an objectively unreasonable interpretation of the
FCRA, all which inevitably led to inaccurate, misleading, or incomplete credit reporting.
                                        FACTUAL BACKGROUND
          21.      Plaintiff re-alleges and incorporates the allegations in each and every paragraph
above by reference as if fully stated herein.
A.        FICO, Inc.
          22.      FICO is a leading analytics software company with its principal headquarters in
San Jose, California. FICO has over 130 patents related to their analytics and decision management
technology and regularly uses mathematical algorithms to predict consumer behavior, including
credit risk.
          23.      The FICO Score has become the standard measure of consumer credit risk in the
                                                                                       1
United States and is used in ninety percent (90%) of lending decisions.




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  While there are other credit scoring models, it is well established that FICO Score is by far the most widely used by
lenders, employers, insurance companies, and lessors. See https://www.myfico.com (a website created and operated by
Fair Isaac Corporation (“FICO”), “the company that invented the FICO credit score”.


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       24.      A FICO Score consists of a three-digit number summarizing a consumer’s credit
risk or likelihood to repay a loan. FICO periodically updates its scoring models resulting in
multiple FICO Score versions.
       25.      Base FICO Scores range from 300 to 850, while industry specific FICO Scores
range from 250-900. A higher FICO Score demonstrates lower credit risk or less likelihood of
default.
       26.      Different lenders use different versions of FICO Scores when evaluating a
consumer’s creditworthiness.
       27.      There are twenty-eight (28) FICO Scores that are commonly used by lenders.
       28.      A consumer’s FICO Score is calculated based solely on information in consumer
credit reports maintained at credit reporting agencies (“CRAs”).
       29.      The three largest CRAs are Experian Information Solutions, Inc. (“Experian”);
Equifax Information Services, LLC (“Equifax”); and TransUnion, LLC (“TransUnion”).
       30.      FICO does not control what information is provided on a consumer’s credit report.
Instead, the scoring models, or algorithms, are based on the premise that the information provided
by the CRAs is accurate and complies with both the FCRA requirements and credit reporting
industry standards.
       31.      There are five (5) key factors that a FICO Score considers: (1) payment history; (2)
amount of debt; (3) length of credit history; (4) new credit; and (5) credit mix.
       32.      Each of the five (5) factors is weighted differently by FICO.
       33.      In other words, thirty-five percent (35%) of a consumer’s FICO Score relates to
payment history, thirty percent (30%) relates to the amount of debt, fifteen percent (15%) relates
to the length of credit history, ten percent (10%) relates to new credit, and the final ten percent
(10%) relates to a consumer’s credit mix, which is the different types of debts reported.
       34.      Payment history refers to whether a consumer has paid their bills in the past, on
time, late, or missed payments. The more severe, recent, or frequent the late payment information,
the greater the impact on a FICO Score. Public record items, such as bankruptcy, foreclosure,
judgments, and wage garnishments are also considered part of a consumer’s payment history.
       35.      In factoring the severity of delinquent payments, a FICO Score considers how late
the payment continues to be, how much is owed, how recently this occurred, and how many
delinquent accounts exist.



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       36.      Once a delinquent account has been remedied, the longer the account stays current
the more a consumer’s FICO Score should increase.
       37.      FICO Scores are entirely dependent upon information provided by data furnishers
(“DFs”), such as banks and other financial institutions, to CRAs.
       38.      A FICO Score is a summary of your credit report. In simple terms, the FICO Score
is calculated by taking the five (5) factors (payment history, amount of debt, length of credit
history, new credit, and credit mix) for each account in a credit report and calculating a three digit
number for lenders to review. “When you apply for credit, lenders need a fast and consistent way
to decide whether or not to loan you money.” See https://www.myfico.com/credit-education/what-
is-a-fico-score. If a lender or employer did look past the FICO Score into a consumer’s reports,
chances are they either do not understand the tradeline meanings themselves, or, if they do and
realize something appears incorrect, they are incapable of recalculating the complex mathematical
algorithms in a FICO Score to take the found error into consideration. Therefore, most lenders and
employers do not review individual accounts, just a consumer’s FICO Score (or average of FICO
Scores) in order to make “quicker decisions”. See id.
       39.      Some lenders also use internal scoring models. In these instances, the lenders
attempt to produce their own “FICO Score” based upon their internal credit scorecard models.
These models are, similar to FICO, based upon algorithms, business rules, codes, etc. and take
information reported in the credit reports and assign weights to them in order to assess risk and
make determinations as to consumer’s creditworthiness. FICO Scores and the scores based off
internal models being collectively referred to as “Credit Score”.
B.     Metro 2
       40.      The Consumer Data Industry Association (“CDIA”) is an international trade
association representing the consumer credit, mortgage reporting, employment and tenant
screening, and collection services industries.
       41.      The credit reporting industry has adopted a standard electronic data reporting
format called the Metro 2 format. The Metro 2 format was developed by CDIA to universally
report debts in a particular manner.
       42.      The CDIA’s Metro 2 format is the credit reporting industry standard for credit
reporting. While CDIA’s Metro 2 format is intended to standardize credit reporting, this standard
is still subject to the FCRA’s requirement of maximum possible accuracy and completeness.



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       43.       The credit reporting industry at large depends upon the Metro 2 format and the
CDIA’s recommendations for reporting debt.
       44.       The CDIA is experienced in credit reporting. In support of this allegation, Plaintiff
avers the following:
       a.        The CDIA offers a FCRA certificate program for all CRAs.
       b.        The CDIA offers a FCRA awareness program for all CRAs.
       c.        The CDIA offers a FCRA certificate program for DFs.
       d.        The CDIA offers a FCRA awareness program for DFs.
       e.        The CDIA offers a Metro 2 learning system to provide detailed instructions on the
                 use of Metro 2 format to ensure understanding of the reporting guidelines for each
                 field of the Metro 2 format as well as the relationship between multiple fields.
       f.        The CDIA hosts workshops developed and authorized by Equifax, Experian,
                 Innovis, and TransUnion.
       g.        The CDIA developed a credit reporting resource guide for reporting credit.
       45.       The CDIA’s Metro 2 format is accepted by all CRAs.
       46.       The credit reporting accepted industry standards for reporting Metro 2 accurately
are found in the CDIA’s credit reporting resource guide (“CRRG”).
       47.       The CRRG outlines the industry standards for reporting debts using Metro 2 format.
       48.       The CRRG is not readily available to the public. It can be purchased for $229.45.
       49.       Even if a buyer is ready, willing, and able to pay for the CRRG, the CDIA will not
grant access to the guide unless the buyer represents an organization included in the Metro 2
Access Policy.
       50.       When FICO calculates credit scores, the algorithms use Metro 2 information based
on industry standards established by the CDIA.
       51.       The algorithms used by FICO in determining a consumer’s credit score are
premised on the Metro 2 data received comporting with the CDIA’s recommendations for accurate
credit reporting.
       52.       If the Metro 2 data received by FICO deviates from the FCRA requirements or
industry standards, an inaccurate or incorrect FICO Score results. If the resulting FICO Score is
lower, a consumer will be considered a higher credit risk resulting in less favorable lending terms.




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C.     e-OSCAR
       53.      e-OSCAR is the web-based, Metro 2 compliant system developed by Experian,
Equifax, TransUnion, and Innovis that enables DFs and CRAs to create and respond to consumer
credit disputes.
       54.      When a consumer sends a dispute letter to a CRA, the CRA then sends an automated
credit dispute verification (“ACDV”) via e-OSCAR to the appropriate DF.
       55.      The ACDV contains within it Metro 2 codes next to certain data fields associated
with a credit file e.g., “Account Type” “07” (07 in Metro 2 refers to a Charge Account).
       56.      When a data furnisher reports on a consumer’s account as part of its regular
reporting, it sends a regular monthly transmission to each CRA.
       57.      When a data furnisher reports on a consumer’s account outside of its regular
monthly transmission, it sends an automated universal dataform (“AUD”) to each CRA.
       58.      For clarification, an AUD, or other regular transmission, is sent when the data
furnisher initiates reporting on a consumer’s account (e.g., opening an account, updating the
account each month, closing an account, etc.), whereas an ACDV is how a data furnisher receives
a dispute request from the CRAs and how it updates reporting back to the CRAs after its
investigation of the matter.
D.     Plaintiff’s Credit Report Contains Inaccurate Adverse Tradelines, which Plaintiff
       Disputed to no Avail
       59.      On April 13, 2021, Plaintiff ordered a three-bureau credit report from Experian to
ensure proper reporting by Plaintiff’s creditors (the “April 13 Credit Reports”).
       60.      Plaintiff noticed adverse tradelines in his April 13 Credit Reports, reporting
inaccurate, misleading, or incomplete information that did not comply with FCRA standards.
       61.      Plaintiff then disputed the inaccurate tradelines regarding the CitiBank and
Barclays accounts via certified mail to Equifax on or about May 4, 2021 (the “Dispute Letter”).
       62.      Plaintiff’s Dispute Letter specifically put CitiBank on notice that his authorized
user status was revoked and that the reporting of the account should be removed.
       63.      Plaintiff requested that the CitiBank account be deleted from his credit report as he
had revoked his authorized user status.




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       64.      Plaintiff’s Dispute Letter specifically put Barclays on notice that the account was
closed with a zero balance, and should not be listed as past due. It also informed Barclays that if
any amount was outstanding, it was discharged in Plaintiff’s bankruptcy.
       65.      Plaintiff’s Dispute Letter also detailed what was perceived to be problematic about
the accounts, addressing each tradeline individually.
       66.      Plaintiff requested that any derogatory reporting be updated to ensure accuracy and
completeness of the accounts as required by the FCRA.
       67.      Plaintiff is informed and believes that Equifax received Plaintiff’s Dispute Letter
and, in response, sent Plaintiff’s dispute to CitiBank and Barclays, as the data furnishers, via an
ACDV through e-OSCAR.
       68.      On June 14, 2021, Plaintiff ordered a second three-bureau credit report from
Experian to determine if his accounts were updated.
       a.       Inaccuracy – Citibank
       69.      Despite actual knowledge, CitiBank continued, without authorization, to report
another consumer’s account, beginning in 512106XXXXXXXXXX, to Equifax as if Plaintiff was
an authorized user. This account has a current payment status of “Charge-off”, and eight
derogatory late or charge off payments in the payment history.
       70.      Reporting an authorized user account after the authorized user designation has been
revoked is patently incorrect. Further, as this tradeline is replete with derogatory information, the
fact that it is showing on Plaintiff’s credit report is lowering his Credit Score, and it is misleading
to an extent to adversely affect credit decisions.
       71.      CitiBank did not update the reporting to delete the unauthorized account.
       72.      Equifax provided notice to CitiBank that Plaintiff was disputing the inaccurate and
misleading information, but CitiBank failed to conduct a reasonable investigation of the
information as required by the Fair Credit Reporting Act.
       73.      The most basic investigation would include a simple review of internal
documentation on the account (i.e., the fact Plaintiff was merely an authorized user and had
revoked such status) compared to its reporting in order to determine if it complies with the
maximum possible accuracy and completeness standard of the FCRA.




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       74.      Plaintiff alleges that CitiBank did not review if its reporting complied with the
unambiguous language of the FCRA, regulatory guidelines on accurate reporting under the FCRA,
or its own internal records concerning Plaintiff’s responsibility on the account.
       75.      If CitiBank reviewed such standards, or its own internal records regarding
Plaintiff’s responsibility on the account, CitiBank would have seen that its reporting was not in
compliance and was therefore patently inaccurate or incomplete.
       76.      By continuing to report the account to Equifax as described in paragraph 69, it
incorrectly appears to third parties viewing Plaintiff’s credit report that Plaintiff is an authorized
user on the account, which in inaccurate. Further, as this severely derogatory account is being used
to calculate Plaintiff’s Credit Score, the Credit Score alone being what most lenders and employers
use to determine Plaintiff’s creditworthiness, it is misleading in such a way as to adversely affect
credit decisions.
       77.      The lack of investigation and reporting of inaccurate and incomplete information
by CitiBank is unreasonable.
       b.       Inaccuracy – Barclays
       78.      Despite actual knowledge, Barclays continued to report Plaintiff’s account,
beginning in 367002X, to Equifax with a current payment status tradeline of “At least 120 days or
more than four payments past due”. This tradeline is patently inaccurate as the account was
satisfied on or about October of 2019.
       79.      Plaintiff alleges that Barclays did not investigate whether Plaintiff previously
satisfied the account.
       80.      Barclays did not update the tradeline to reflect that Plaintiff satisfied the account,
and that it was not currently past due.
       81.      Equifax provided notice to Barclays that Plaintiff was disputing the inaccurate and
misleading information, but Barclays failed to conduct a reasonable investigation of the
information as required by the Fair Credit Reporting Act.
       82.      The most basic investigation would include a simple review of internal
documentation on the account (i.e., payments, including final payment and satisfaction) compared
to its reporting in order to determine if it complies with the maximum possible accuracy and
completeness standard of the FCRA regarding how to report a debt legally paid in full.




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        83.     Plaintiff alleges that Barclays did not review if its reporting complied with the
unambiguous language of the FCRA, regulatory guidelines on accurate reporting under the FCRA,
or its own internal records concerning Plaintiff’s account.
        84.     If Barclays reviewed such standards, or its own internal records regarding
Plaintiff’s account, Barclays would have seen that its reporting was not in compliance and was
therefore patently inaccurate or incomplete.
        85.     By continuing to report Plaintiff’s account to Equifax as described in paragraph 78,
it incorrectly appears to third parties viewing Plaintiff’s credit report that Plaintiff is currently
behind on his payments, which in inaccurate. Past due debts are far more injurious to a credit score
than a debt paid in full. Further, as this inaccurate reporting is being used to calculate Plaintiff’s
Credit Score, the Credit Score alone being what most lenders and employers use to determine
Plaintiff’s creditworthiness, it is misleading in such a way as to adversely affect credit decisions.
        86.     As payment history (including payment status) makes up thirty-five percent (35%)
of a consumer’s FICO Score, and as most lenders approve or deny credit based on a consumer’s
credit score (as opposed to poring through each tradeline of every account listed to obtain context),
the incorrect payment status and payment history reported by Barclays on the account is lowering
Plaintiff’s credit score, which adversely affects Plaintiff’s ability to obtain credit.
        87.     In the alternative, if any amount remained after the payment and satisfaction in
October of 2019, said amount would have been discharged in Plaintiff’s Chapter 7 bankruptcy in
that the debt occurred pre-petition (opened August 24, 2006) and was subject to the discharge
entered on April 9, 2021. Therefore, even in this alternative scenario, Barclays should have known,
the account was not past due. In this event, Barclays should have updated the CII to Metro 2 Code
“E” to reflect the debt was discharged in Plaintiff’s Chapter 7 bankruptcy and removed the past
due payment status.
        88.     The lack of investigation and reporting of inaccurate and incomplete information
by Barclays is unreasonable.
        Damages
        89.     Plaintiff pulled the credit reports at issue at a cost for access to the report, after the
dispute process, specifically for the sole purpose of verifying that the inaccuracies were fixed.
        90.     As a result of the incorrect reporting, Plaintiff has incurred out-of-pocket expenses,
and has also suffered emotional harm, physical sickness, and excessive stress resulting in doubt as



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to the effectiveness of the Bankruptcy Code, the Fair Credit Reporting Act, and the power of this
Court to preserve and perpetuate a fresh start as intended by Congress.
       91.     Plaintiff has been denied credit and is unable to rebuild his credit based on the
inaccurate reporting by CitiBank. Further, Plaintiff’s low credit score, resulting from CitiBank’s
inaccurate reporting, has caused him to abandon his intentions to apply for certain credit.
       92.     Plaintiff has been denied credit and is unable to rebuild his credit based on the
inaccurate reporting by Barclays. Further, Plaintiff’s low credit score, resulting from Barclays’
inaccurate reporting, has caused him to abandon his intentions to apply for certain credit
       93.     CitiBank and Barclays’ actions, as alleged herein, are each in direct violation of the
Fair Credit Reporting Act, 15 U.S.C. § 1681.
                                  FIRST CAUSE OF ACTION
                 (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681e(b))
                              (Against Defendants and Does 1-100)
       94.     Plaintiff re-alleges and incorporates the allegations in each and every paragraph
above by reference as if fully stated herein.
A.     Equifax Failed to Assure Credit Reporting Accuracy
       95.     Equifax violated 15 U.S.C. § 1681e(b) by failing to establish and/or follow
reasonable procedures to assure maximum possible accuracy in the preparation of Plaintiff’s credit
reports and the credit files it published and maintained concerning Plaintiff.
       96.     Had Equifax maintained reasonable procedures to assure maximum accuracy, it
would have never reported the CitiBank account or Barclays account as described herein.
       97.     Equifax knew, or should have known, that (1) Plaintiff revoked his authorized user
status on the CitiBank account, (2) the tradeline was derogatory and detrimental to Plaintiff’s
Credit Score, and (3) as Plaintiff was not responsible on the account and had revoked his authorized
user status, the account should not be showing on his credit report. Further, Equifax knew, or
should have known, that continuing to report the account does not reflect maximum possible
accuracy and completeness as required by the FCRA.
       98.     Equifax knew, or should have known, (1) that the Barclays account was fully
satisfied, and (2) that the account should not have been reported with a current payment status
tradeline of “At least 120 days or more than four payments past due” as the debt was fully satisfied.




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Further, Equifax knew, or should have known, that this inaccurate and incomplete tradeline does
not reflect maximum possible accuracy and completeness as required by the FCRA.
        99.     As a result of Equifax’s violations of 15 U.S.C. § 1681e(b), Plaintiff suffered actual
damages, including but not limited to: damage to reputation, embarrassment, humiliation,
dissemination of inaccurate information, diminished credit, and other mental and emotional
distress.
B.      Willful Violations
        100.    Equifax’s violations, as described herein, were willful; specifically, Equifax has
intentionally and purposefully set up a system where inaccuracies are not only probable, but
inevitable.
        101.    Equifax regularly, as a policy, ignores disputes by consumers and fails to perform
even a basic investigation regarding the disputes. Additionally, Equifax regularly fails to forward
disputes to data furnishers, thereby frustrating the entire dispute process.
        102.    To the extent Equifax does send consumer disputes, it sends these disputes to
employees who do not live within the continental United States to hide or subvert a consumer’s
liability to confront the individual(s) directly responsible for approving accurate reporting.
        103.    Equifax’s employees receive little to no training concerning how to accurately
report consumer debt.
        104.    Instead, Equifax’s employees are instructed to parrot whatever information a data
furnisher provides regardless of whether the information is accurate.
        105.    Equifax’s employees are regularly expected to review and approve over ninety (90)
disputes per day, rendering less than five (5) minutes to review, investigate, and respond to each
dispute received.
        106.    Equifax has intentionally set up this system in order to undermine, hide, and
otherwise frustrate consumers’ ability to properly dispute and correct credit reports.
        107.    As a result of Equifax’s violations of 15 U.S.C. § 1681e(b), Plaintiff suffered actual
damages, including, but not limited to: damage to reputation, embarrassment, humiliation,
dissemination of inaccurate information, diminished credit, and other mental and emotional
distress.
        108.    Equifax’s violations were willful, rendering it liable for punitive damages in an
amount to be determines by the Court pursuant to 15 U.S.C. § 1681n.



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        109.    In the alternative, Equifax was negligent, which entitles Plaintiff to recover under
15 U.S.C. § 1681o.
        110.    Plaintiff is entitled to recover actual damages, statutory damages, costs, and
attorneys’ fees from Equifax in an amount to be determined by this Court pursuant to 15 U.S.C. §
1681n and § 1681o.
                                SECOND CAUSE OF ACTION
      (Violation of Fair Credit Reporting Act 15 U.S.C. §§ 1681s-2(b) and 1681i(a)(1))
                              (Against Defendants and Does 1-100)
        111.    Plaintiff re-alleges and incorporates the allegations in each and every paragraph
above by reference as if fully stated herein.
A.      CitiBank Failed to Reinvestigate Following Plaintiff’s Dispute
        112.    Pursuant to 15 U.S.C. §§ 1681s-2(b), data furnishers are prohibited from providing
any information relating to a consumer to any CRA if it knows, or has reasonable cause to believe,
that the information is inaccurate or misleading and requires data furnishers to update and/or
correct inaccurate information after a CRA notifies it of a consumer dispute.
        113.    CitiBank sent monthly AUDs, or other monthly transmissions, to Equifax reporting
late payments on the account from February 2019 through July of 2019, and charge offs from
August 2019 to September of 2019.
        114.    Eventually, the late payments resulted in CitiBank sending an AUD or monthly
transmission to Equifax reporting the account with a charged-off payment status.
        115.    After receiving the Plaintiff’s Dispute Letter, CitiBank did not delete the
unauthorized tradeline on the Equifax report. Instead, despite having knowledge of Plaintiff’s
revocation, CitiBank verified and re-reported the tradeline to Equifax via ACDV as if Plaintiff was
still an authorized user.
        116.    CitiBank violated 15 U.S.C. § 1681s-2(b) by either failing to conduct an
investigation at all or by failing to conduct a reasonable investigation, and under either event, re-
reporting misleading and inaccurate account information.
        117.    Equifax provided notice to CitiBank that Plaintiff was disputing the inaccurate and
misleading information; however, CitiBank failed to conduct a reasonable investigation as
required by the FCRA.




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        118.    Based on Plaintiff’s dispute, CitiBank should have known the account was not
authorized and should have ceased its inaccurate reporting.
        119.    It is undisputable that the CitiBank account in question contains multiple
derogatory items and that Plaintiff was merely an authorized user on the account. Reporting an
account on a consumer’s report as an authorized user when they have revoked their right to be one
is patently incorrect.
        120.    In addition, this inaccurate reporting also adversely affects credit decisions.
Derogatory marks like late payments and charge off payment status goes into calculating a Credit
Score. Most lenders, employers, and other individuals who access a consumer’s credit report
approve or deny credit or employment based upon the reported Credit Score and do not take the
time to look through each tradeline of every account listed to obtain context. Therefore, CitiBank’s
reporting as described herein has a direct adverse effect on Plaintiff’s Credit Score and his ability
to rebuild his credit score and obtain new credit.
        121.    The lack of investigation by CitiBank, as required by the FCRA, is unreasonable.
B.      Barclays Failed to Reinvestigate Following Plaintiff’s Dispute
        122.    Pursuant to 15 U.S.C. §§ 1681s-2(b), data furnishers are prohibited from providing
any information relating to a consumer to any CRA if it knows, or has reasonable cause to believe,
that the information is inaccurate or misleading and requires data furnishers to update and/or
correct inaccurate information after a CRA notifies it of a consumer dispute.
        123.    Barclays sent an AUD or other monthly transmission to Equifax reporting
Plaintiff’s account as currently past due. After Plaintiff satisfied the account in full in or about
October of 2019, Barclays sent an AUD or other monthly transmission to Equifax reporting the
payment status at that point in time (i.e., post satisfaction) as “At least 120 days or more than four
payments past due”.
        124.    After receiving the Dispute Letter, Barclays did not correct the payment status, but
instead verified and re-reported the current payment status as “At least 120 days or more than four
payments past due” via ACDV to Equifax.
        125.    The payment status reported in an AUD, monthly transmission, or ACDV
represents the status of the account at the time of sending the AUD, monthly transmission, or
ACDV, and is not a historical contractual item (i.e., monthly payment, highest balance, payment




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history, etc.). Therefore, even in the event the account was previously past due, if at all, it has no
bearing on its current pay status after the account was fully satisfied.
       126.    Barclays violated 15 U.S.C. § 1681s-2(b) by either failing to conduct an
investigation or failing to conduct a reasonable investigation, and re-reporting misleading and
inaccurate account information.
       127.    Equifax provided notice to Barclays that Plaintiff was disputing the inaccurate and
misleading information; however, Barclays either failed to conduct any investigation or failed to
conduct a reasonable investigation as required by the FCRA.
       128.    Based on Plaintiff’s disputes, and review of its internal records on the account,
Barclays should have known its account was fully satisfied and ceased its inaccurate reporting.
       129.    In the alternative, if any amount remained after the payment and satisfaction in
October of 2019, said amount would have been discharged in Plaintiff’s subsequent Chapter 7
bankruptcy. Therefore, even in this alternative scenario, Barclays should have known, the account
was not past due, and should have updated the CII to Metro 2 Code “E” to reflect the debt was
discharged in Plaintiff’s Chapter 7 bankruptcy.
       130.    Reporting a fully satisfied and/or paid debt as currently past due is patently
incorrect. In addition, this inaccurate reporting also adversely affects credit decisions. Payment
history (including payment status), at thirty-five percent (35%), is the heaviest weighted factor that
goes into calculating a FICO score. Most lenders, employers, and other individuals who access a
consumer’s credit report approve or deny credit or employment based upon the reported Credit
Score and do not take the time to look through each tradeline of every account listed to obtain
context. Therefore, Barclays’ reporting as described herein has a direct adverse effect on Plaintiff’s
Credit Score and his ability to rebuild his credit score and obtain new credit.
C.     Willful Violations
       131.    Plaintiff alleges that CitiBank and Barclays have reported based upon objectively
unreasonable interpretations of the FCRA standards of credit reporting and regulatory guidelines
on how to accurately report under the FCRA.
       132.    Plaintiff further alleges that CitiBank and Barclays have not properly trained those
directly investigating disputes on FCRA requirements or credit reporting industry standards and,
as such, have developed reckless policies and procedures.




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       133.     Plaintiff alleges that rather than train its employees on accurate credit reporting,
FCRA requirements, and industry standards, CitiBank’s and Barclays’ respective employees
tasked with reviewing disputes are expected to confirm the information being reported as
“accurate” instead of investigating the reporting.
       134.     In the alternative, CitiBank and Barclays were each negligent, which entitles
Plaintiff to recover under 15 U.S.C. § 1681o.
D.     Equifax Failed to Reinvestigate the Disputed Information in violation of 15 U.S.C. §
       1681i(a)(1)
       135.     Pursuant to 15 U.S.C. 1681i(a)(1), Equifax was required to conduct a reasonable
investigation and to delete any information that was not accurate after receiving notice of
Plaintiff’s disputes regarding the CitiBank and Barclays accounts.
       136.     Thus, Equifax failed to conduct a reasonable investigation and correct the
misleading and/or inaccurate statements on the accounts within the statutory time frame.
       137.     Equifax is not a passive entity bound to report whatever information a data furnisher
provides.
       138.     Plaintiff alleges Equifax is readily familiar with FCRA requirements and credit
reporting industry standards.
       139.     Based on the foregoing, Plaintiff alleges that Equifax can, and does, suppress
inaccurate information from being reported when data furnishers provide inaccurate information.
       140.     Equifax can and does instruct data furnishers on how to properly report certain
accounts from time to time upon request from a data furnisher.
       141.     Equifax failed to conduct a reasonable investigation because any basic investigation
would have uncovered that CitiBank was not reporting its account at issue correctly.
       142.     Had Equifax conducted a proper investigation, it could have suppressed the
CitiBank debt from reporting on Plaintiff’s credit report. However, Equifax continued to report the
account as described herein.
       143.     Equifax failed to conduct a reasonable investigation because any basic investigation
would have uncovered that Barclays was not reporting its account at issue correctly.
       144.     Had Equifax conducted a proper investigation, it could have closed or bookended
the Barclays debt by adding a notation on the credit report to show that the debt was in fact fully
satisfied and not past due. However, Equifax continued to report the account as described herein.



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         145.    In the alternative, Plaintiff alleges that Equifax did not send an ACDV to CitiBank
or Barlcays to confirm accurate reporting on its respective accounts. Despite receiving the Dispute
Letter providing notice of the inaccuracies, Equifax did not delete or correct the tradelines or
conduct an investigation.
         146.    Equifax, therefore, did not conduct even the most basic investigation regarding
credit reporting industry standards, otherwise the aforementioned would have been uncovered.
                                  THIRD CAUSE OF ACTION
                 (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681i(a)(4))
                               (Against Defendants and Does 1-100)
         147.    Plaintiff re-alleges and incorporates the allegations in each and every paragraph
above by reference as if fully stated herein.
A.       Equifax Failed to Review and Consider all Relevant Information
         148.    Equifax violated 15 U.S.C. § 1681i(a)(4) by failing to review and consider all
relevant information submitted by Plaintiff.
         149.    Equifax’s violations of 15 U.S.C. § 1681i(a)(4) have caused Plaintiff to suffer
actual damages, including, but not limited to: damage to reputation, embarrassment, humiliation,
and other mental and emotional distress.
B.       Willful Violations
         150.    Equifax’s violations were willful, rendering it liable for punitive damages in an
amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.
         151.    In the alternative, Equifax was negligent in failing to review and consider all
relevant information Plaintiff submitted, which entitles Plaintiff to recovery under 15 U.S.C. §
1681o.
         152.    Plaintiff is entitled to recover actual damages, statutory damages, costs, and
attorneys’ fees from Equifax in an amount to be determined by the Court pursuant to 15 U.S.C. §
1681n and § 1681o.
                                 FOURTH CAUSE OF ACTION
                (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681i(a)(5)(A))
                               (Against Defendants and Does 1-100)
         153.    Plaintiff re-alleges and incorporates the allegations in each and every paragraph
above by reference as if fully stated herein.



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A.     Equifax Failed to Delete Disputed and Inaccurate Information
       154.   Equifax violated 15 U.S.C. § 1681i(a)(5)(A) by failing to promptly delete the
disputed inaccurate items of information from Plaintiff’s credit file or modify the item of
information upon a lawful reinvestigation.
       155.   Equifax’s violations of 15 U.S.C. § 1681i(a)(5)(A) have resulted in Plaintiff
suffering actual damages, including, but not limited to: damage to reputation, embarrassment,
humiliation, and other mental and emotional distress.
B.     Willful Violations
       156.   Equifax’s violations were willful, rendering it liable for punitive damages in an
amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.
       157.   In the alternative, Equifax was negligent, which entitles Plaintiff to recovery under
15 U.S.C. § 1681o.
       158.   Plaintiff is entitled to recover actual damages, statutory damages, costs, and
attorneys’ fees from Equifax in an amount to be determined by the Court pursuant to 15 U.S.C. §
1681n and § 1681o.
                                   PRAYER FOR RELIEF
       159.   WHEREFORE, Plaintiff prays for judgment as follows:
              a. For preliminary and permanent injunctive relief to stop Defendants from
                  engaging in the conduct described above;
              b. Award statutory and actual damages pursuant to 15 U.S.C. § 1681n;
              c. Award punitive damages in order to deter further unlawful conduct pursuant to
                  15 U.S.C. § 1681n;
              d. Award attorneys’ fees and costs of suit incurred herein pursuant to 15 U.S.C.
                  §§ 1681n and 1681o;
              e. For determination by the Court that Defendant’s policies and practices are
                  unlawful and in willful violation of 15 U.S.C. § 1681n, et seq.; and
              f. For determination by the Court that Defendant’s policies and practices are
                  unlawful and in negligent violation of 15 U.S.C. § 1681o.




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                                            Respectfully submitted,


                                            SCHUMACHER LANE PLLC

Dated: November 17, 2021                    /s/ Kyle Schumacher
                                            Kyle Schumacher
                                            Attorney for Plaintiff




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                              DEMAND FOR JURY TRIAL

      Plaintiff hereby demands trial of this matter by jury.



                                                    SCHUMACHER LANE PLLC

Dated: November 17, 2021                            /s/ Kyle Schumacher
                                                    Kyle Schumacher
                                                    Attorney for Plaintiff




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